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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

CHRISTOPHER D’ AMORE, individually and | Civil Action No. 6:18-cv-06357-MAT
on behalf of a class of participants in the
University of Rochester Retirement Program,

Plaintiff,

UNIVERSITY OF ROCHESTER,
UNIVERSITY OF ROCHETSER
RETIREMENT PLAN COMMITTEE, and
JOHN DOES 1-30,

Defendants.

 

 

NOTICE OF VOLUNTARY DISMISSAL OF ACTION
Pursuant to the provisions of Fed. R. Civ. P. 41(a)(L(A}@), Plaintiff Christopher D’ Amore,
by and through his undersigned counsel, voluntary dismisses with prejudice the above entitled
action, with each party to bear its own fees and costs.
No opposing party has served either an answer or a motion for summary judgment in the
present case. No opposing party has filed a counterclaim, nor has any opposing party filed any

motion adverse to the interests of Plaintiff herein.

Dated: January 21, 2019 By-/s/ Edwin J. Kilpela
Edwin J. Kilpela
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SO ORDERED Attorneys for Plaintiff

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MICHAEL A. TELESCA
United States District J ets

 

  

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